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                                   5                            IN THE UNITED STATES DISTRICT COURT

                                   6                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                   8     MICHELE ARENA, et al.,                       Case No. 19-cv-02546-CRB
                                   9                   Plaintiffs,
                                                                                      ORDER DENYING MOTION FOR
                                  10             v.                                   PRELIMINARY APPROVAL OF
                                                                                      PROPOSED SETTLEMENT
                                  11     INTUIT INC., et al.,
                                  12                   Defendants.
Northern District of California
 United States District Court




                                  13          Having considered the briefs and counsel’s arguments, and having given the matter
                                  14   further consideration following the hearing, the Court hereby DENIES Plaintiffs’ Motion
                                  15   for Preliminary Approval (dkt. 162). An opinion will follow in due course.
                                  16          IT IS SO ORDERED.
                                  17          Dated: December 17, 2020
                                                                                      CHARLES R. BREYER
                                  18                                                  United States District Judge
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